Case 5:22-cv-04486-BLF Document 499-21 Filed 09/07/23 Page 1 of 4




               DOCUMENT 17
            PUBLIC VERSION
         Case 5:22-cv-04486-BLF Document 499-21 Filed 09/07/23 Page 2 of 4



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11                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                      SAN JOSE DIVISION

13   MATT JONES, BRYSON DECHAMBEAU,                     CASE NO. CASE NO. 5:22-cv-04486-BLF
     PETER UIHLEIN, and LIV GOLF INC.,
14                                                      DECLARATION OF TIM TAYLOR IN
                        Plaintiffs,                     SUPPORT OF THE PUBLIC
15                                                      INVESTMENT FUND OF THE
            v.                                          KINGDOM OF SAUDI ARABIA AND
16                                                      HIS EXCELLENCY YASIR O. AL-
     PGA TOUR, INC.,                                    RUMAYYAN’S MOTION TO QUASH
17                                                      AND OPPOSITION TO PGA TOUR,
                        Defendant.                      INC.’S MOTION TO COMPEL
18                                                      SUBPOENA COMPLIANCE

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27                                            FILED UNDER SEAL
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           TAYLOR DECLARATION ISO MOTION TO QUASH AND MOTION TO COMPEL OPPOSITION
                                   CASE NO. 5:22-CV-04486-BLF
         Case 5:22-cv-04486-BLF Document 499-21 Filed 09/07/23 Page 3 of 4



 1           I, Tim Taylor, hereby declare and state:

 2           1.      I am the Chief Financial Officer of LIV Golf (“LIV”). I am authorized by LIV to make

 3   this statement to address certain inaccuracies in the Motion to Compel Public Investment Fund of the

 4   Kingdom of Saudi Arabia (“PIF”) and Yasir Othman Al-Rumayyan’s (“HE”) Compliance with

 5   Document and Deposition Subpoena, filed by Defendant the PGA Tour (the “Tour”). I make the

 6   statements in this declaration based on personal knowledge, personal experience, and personal

 7   participation in communications with business associates. If called and sworn as a witness, I could and

 8   would testify to the facts stated in this declaration.

 9           2.      LIV decided to enter this lawsuit. PIF did not direct the decision.

10           3.      PIF’s Board does not approve LIV’s budget or budget changes. LIV’s budget or budget

11   changes are approved by LIV’s board of directors (pursuant to the Delegation of Authority set out in

12   the Shareholder Agreement), which can then request additional funding from investors. PIF Board’s

13   approval is needed to obtain additional capital for LIV.

14           4.      Exhibit 16 of the Tour’s Motion was put together by consultants for LIV to obtain LIV

15   board’s approval for a new business plan, which requested additional capital beyond that initially

16   committed by PIF. Although Exhibit 40 references a “budget change,” the statements were made in

17   connection with requesting approval from PIF’s Board for additional capital for LIV from PIF.

18           5.      Exhibit 17 was put together by consulting firms as part of a work stream for a launch

19   strategy to obtain sponsorship money for a golf league. PIF had no involvement in preparing this

20   document. The presentation was given and discussed with PIF once finalized, but this was primarily
21   for educational reasons, to help PIF get up to speed on the communication strategy.

22           I declare under penalty of perjury under the laws of the State of California and the United States

23   of America that the foregoing is true and correct.

24           Executed on November 22, 2022.
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26                                                            /s/ __Tim Taylor_______________________
27                                                            Tim Taylor

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           TAYLOR DECLARATION ISO MOTION TO QUASH AND MOTION TO COMPEL OPPOSITION
                                   CASE NO. 5:22-CV-04486-BLF
         Case 5:22-cv-04486-BLF Document 499-21 Filed 09/07/23 Page 4 of 4



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 2                     ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1

 3          Pursuant to Civil Local Rule 5-1(h)(3) of the Northern District of California, I attest that

 4   concurrence in the filing of the document has been obtained from each of the other signatories to this

 5   document.

 6

 7          Executed on November 22, 2022.

 8                                                        /s/_Kevin Teruya_______________________

 9                                                        Kevin Teruya

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           TAYLOR DECLARATION ISO MOTION TO QUASH AND MOTION TO COMPEL OPPOSITION
                                   CASE NO. 5:22-CV-04486-BLF
